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                                      UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF KENTUCKY
                                           ___________DIVISION
                                           LOUISVILLE



___________________
EMW Women's Surgical Center et al.



-vs-                                                                  3:17-cv-00189-GNS
                                                                     17-cv-00189
                                                            Case No.:______________________
Glisson
__________________

                                     ORDER FOR ADMISSION PRO HAC VICE

       The motion for admission to practice pro hac vice in the above-captioned matter is granted.
                Ryan Mendias
The Applicant, ________________,    is permitted to argue or try this case in whole or in part as
            EMW Women's Surgical Center, P.S.C. and Ernest Marshall, MD
counsel for ______________________________________________________________.




                                                                      December 27, 2022
